











Opinion issued February 15, 2008.
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In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00100-CV




IN RE ROSALIND B. MYERS, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 

By petition for writ of mandamus, relator, Rosalind B. Myers, seeks to compel
the trial court to continue the trial of her underlying divorce to a date at least four
months from February 18, 2008.


    
We deny the petition for writ of mandamus.
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PER CURIAM

Panel consists of Justices Jennings, Higley, and Bland.  &nbsp;


